Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 1 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 2 of 26
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      Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 3 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 4 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 5 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 6 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 7 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 8 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 9 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 10 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 11 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 12 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 13 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 14 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 15 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 16 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 17 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 18 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 19 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 20 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 21 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 22 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 23 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 24 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 25 of 26
Case 3:18-cv-00085-SLG Document 1-1 Filed 03/23/18 Page 26 of 26
